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     Federal Defender
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     Assistant Federal Defender
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4    Tel: 916-498-5700/Fax 916-498-5710
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5
     Attorney for Defendant
6    SHELLBY L. MOORE
7
                                 IN THE UNITED STATES DISTRICT COURT
8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10    UNITED STATES OF AMERICA,                   ) Case No. 2:16-cr-00147-MCE
                                                  )
11                     Plaintiff,                 ) STIPULATION AND ORDER TO
                                                  ) CONTINUE STATUS CONFERENCE
12             vs.                                )
                                                  ) Date: October 6, 2016
13    SHELLBY L. MOORE,                           ) Time: 10:00 a.m.
                                                  ) Judge: Hon. Morrison C. England, Jr.
14                     Defendant.                 )
                                                  )
15                                                )
16
               IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting U.S. Attorney,
17
     through, Michelle Rodriguez, Assistant United States Attorney, attorney for Plaintiff, and
18
     Heather Williams, Federal Defender, through Assistant Federal Defender, Noa E. Oren, attorney
19
     for Shellby L. Moore that the status conference, currently scheduled for October 6, 2016, be
20
     continued to November 3, 2016 at 10:00 a.m.
21
               Defense counsel requires additional time to continue reviewing discovery with the
22   defendant and pursue investigation.
23             Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
24   excluded of this order’s date through and including November 3, 2016; pursuant to 18 U.S.C.
25   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
26   based upon continuity of counsel and defense preparation.
27   ///
28   ///
     Stipulation to Continue Status Conference        -1-                          U.S. v Moore, 16-cr-147
       Case 2:16-cr-00147-DAD Document 36 Filed 10/05/16 Page 2 of 3



1            Counsel and the defendant also agree that the ends of justice served by the Court granting
2    this continuance outweigh the best interests of the public and the defendant in a speedy trial.
3                                                  Respectfully submitted,

4    Dated: September 30, 2016                     HEATHER E. WILLIAMS
                                                   Federal Defender
5
                                                   /s/ Noa E. Oren
6                                                  NOA E. OREN
                                                   Assistant Federal Defender
7                                                  Attorney for Defendant
8    Dated: September 30, 2016
                                                   PHILLIP A. TALBERT
9                                                  Acting United States Attorney
10                                                 /s/ Michelle Rodriguez
                                                   MICHELLE RODRIGUEZ
11                                                 Assistant U.S. Attorney
                                                   Attorney for Plaintiff
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     Stipulation to Continue Status Conference       -2-                            U.S. v Moore, 16-cr-147
       Case 2:16-cr-00147-DAD Document 36 Filed 10/05/16 Page 3 of 3



1                                                ORDER
2            The Court, having received, read, and considered the parties’ stipulation, and good cause
3    appearing therefore, adopts the parties’ stipulation in its entirety as its order. It specifically finds
4    the failure to grant a continuance in this case would deny counsel reasonable time necessary for
5    effective preparation, taking into account the exercise of due diligence. The Court further finds
6    the ends of justice are served by granting the requested continuance and outweigh the best
7    interests of the public and defendant in a speedy trial.
8            The Court orders the time from the date the parties stipulated, up to and including
9    November 3, 2016, shall be excluded from computation of time within which the trial of this
10   case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It
12   is further ordered the October 6, 2016 status conference shall be continued until November 3,
13   2016, at 10:00 a.m.
14           IT IS SO ORDERED.
15   Dated: October 4, 2016
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     Stipulation to Continue Status Conference           -3-                            U.S. v Moore, 16-cr-147
